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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 MASON WOOLLEY,

      Plaintiff,

                   v.
                                                                  Civil Action No. 24-30121-MGM
 UNIVERSITY OF MASSACHUSETTS,
 AMHERST, et al.,

         Defendants.

              MEMORANDUM AND ORDER REGARDING DEFENDANTS’
             MOTION TO DISMISS AND PLAINTIFF’S MOTION FOR RECUSAL
                                (Dkt. Nos. 24 & 28)

                                              June 24, 2025


MASTROIANNI, U.S.D.J.

                                        I.      INTRODUCTION

        Plaintiff, Mason Woolley, was a student at the University of Massachusetts (“UMass”) campus

in Amherst, Massachusetts in 2017 and 2018. During that time, Plaintiff has alleged that UMass, and

four of its employees, discriminated against him on the basis of his disability. This is the third case he

has brought against UMass in which he asserts claims arising out of his experiences as a UMass student

between 2017 and 2018. The first case ended after Plaintiff entered into a settlement agreement with

UMass, and Plaintiff voluntarily dismissed the second case. Defendants, UMass and four of its

employees, each sued in their individual and official capacities, have now moved for dismissal in this

case. They argue dismissal is appropriate pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) because

sovereign immunity deprives this court of subject matter jurisdiction over any claims based on conduct

occurring after the first case settled, and the remainder of Plaintiff’s claims are foreclosed by the terms


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of the settlement agreement. While Defendants’ motion to dismiss has been pending, Plaintiff filed a

motion for recusal. The court will deny Plaintiff’s Motion for Recusal (Dkt. No. 28) and grant

Defendants’ Motion to Dismiss (Dkt. No. 24). Those claims that fall within this court’s federal

question jurisdiction are dismissed based on the operation of the 2019 settlement agreement. Having

dismissed the federal question claims, the court declines to exercise supplemental jurisdiction over

Plaintiff’s state law claims and will dismiss those claims without prejudice.



                                      II.    MOTION FOR RECUSAL

        There is a well-established, two-pronged standard for recusal. First, a judge must recuse when

 there is an actual conflict as defined by statute. 28 U.S.C. § 455(b). Second, in the absence of an actual

 conflict, a judge must recuse when there is an appearance of conflict such that “an objective,

 reasonable member of the public, fully informed of all the relevant facts, would fairly question the

 trial judge’s impartiality.” In re United States, 441 F.3d 44, 56–57 (1st Cir. 2006) (quotations omitted);

 see also United States v. Kelley, 712 F.2d 884, 889 (1st Cir. 1983); 28 U.S.C. § 455(a). This judge has never

 had an actual conflict that required recusal from cases in which UMass is a party. Nor has he been

 required to recuse from cases in which UMass is a party based on the objective standard for an

 appearance of conflict. Nonetheless, during the years when this judge was paying tuition to UMass

 on behalf of his children, that limited relationship was disclosed in all cases in which UMass was a

 party, and this judge voluntarily offered to recuse at the request of any party. This judge last paid

 tuition to UMass in 2019, the same year the disclosure and offer to recuse were made during Plaintiff’s

 first case against UMass. Neither party requested recusal at that time. The court declines to recuse in

 this case based on a relationship that did not concern Plaintiff in 2019, and has since terminated, as

 there is no objective reason to question the court’s impartiality.




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                                III.   MOTION TO DISMISS STANDARD

        Federal courts are courts of limited jurisdiction and as such can only act where they have

subject matter jurisdiction. “The party invoking federal jurisdiction has the burden of establishing that

the court has subject matter jurisdiction over the case.” Amoche v. Guarantee Trust Life Ins. Co., 556 F.3d

41, 48 (1st Cir. 2009). Generally, jurisdictional questions raised pursuant to Rule 12(b)(1), including

Eleventh Amendment sovereign immunity issues, are resolved prior to the court addressing merits

arguments raised under Rule 12(b)(6). Mulero-Carrillo v. Roman-Hernandez, 790 F.3d 99, 105 (1st Cir.

2015). However, when appropriate, the court may choose to resolve claims on the merits in favor of

the state, rather than address sovereign immunity issues. Id.

        To survive a 12(b)(6) motion to dismiss, a complaint must allege facts that “raise a right to

relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Thus, the factual

allegations in the complaint must “nudge[] [the] claims across the line from conceivable to plausible.”

Id. at 570. “Determining whether a complaint states a plausible claim for relief [is] . . . a context-

specific task that requires the reviewing court to draw on its judicial experience and common sense.”

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). The court accepts as true all well-pleaded factual allegations

and draws all reasonable inferences in Plaintiffs’ favor, but “do[es] not credit legal labels or conclusory

statements.” Cheng v. Neumann, 51 F.4th 438, 443 (1st Cir. 2022). Additionally, the court may “consider

‘documents incorporated by reference in [the complaint], matters of public record, and other matters

susceptible to judicial notice.’” Newton Covenant Church v. Great Am. Ins. Co., 956 F.3d 32, 35 (1st Cir.

2020) (quoting In re Colonial Mortgage Bankers Corp., 324 F.3d 12, 20 (1st Cir. 2003)) (alteration in

original). When such documents contradict an allegation in the complaint, the document “trumps the

allegation.” O’Brien v. Wilmington Tr. Nat’l Ass’n as Trustee to CitiBank, N.A., 506 F. Supp. 3d 82, 90 (D.

Mass. 2020) (quotations omitted). The same type of review applies to affirmative defenses raised in a

motion to dismiss; if “upon review there is ‘no doubt’ that the plaintiff’s claim is barred by the raised

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defense, dismissal is appropriate.” Zenon v. Guzman, 924 F.3d 611, 616 (1st Cir. 2019) (quoting

Blackstone Realty LLC v. F.D.I.C., 244 F.3d 193, 197 (1st Cir. 2001).



                                                   IV.     BACKGROUND

            In 2019, Plaintiff filed a two-count complaint against UMass, asserting violations of Section

504 of the Rehabilitation Act of 1971 and the Americans with Disabilities Act (“ADA”. (19-cv-30004,

Compl., Dkt. No. 1.) At the joint request of the parties, the case was assigned to Magistrate Judge

David H. Hennessy for court-sponsored mediation, and this court appointed pro bono counsel for

the limited purpose of assisting Plaintiff during the mediation. The mediation was fruitful, and the

parties signed a settlement agreement. UMass agreed to waive a debt owed by Plaintiff, pay him

$10,000, and release any claims it had against Plaintiff. (Jul. 24, 2019 Settlement Agreement, Dkt. No.

25-1, ¶¶ 2(a)-(c).) In exchange, Plaintiff agreed to dismiss the case and release UMass, and its

employees, “whether acting in an individual capacity or on behalf of” UMass, from any liability for

the claims asserted in the 2019 complaint, as well as “from all claims, demands, causes of action,

grievances and liabilities of any kind.”1 (Id. at ¶¶ 3(a) & (c).) He also agreed that a 2018 Trespass Order


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    Plaintiff’s release of claims reads in its entirety:
        Woolley, for himself and for his assigns, heirs, executors and administrators, knowingly and
        voluntarily releases and forever discharges University and all of their past, present and future trustees,
        affiliates, employees, officers, advisors, agents, representatives, successors and assigns, whether acting
        in an individual capacity or on behalf of University, from the allegations referred to in the Litigation
        and from all claims, demands, causes of action, grievances and liabilities of any kind (upon any legal
        or equitable theory, whether contractual, common law, statutory, federal, state, local or otherwise and
        including, but not limited to, any claim or right under 20 U.S.C. § 1681, et seq. (Title IX of the
        Education Amendment of 1972), as amended, the Civil Rights Act of 1964, as amended, M.G.L. ch.
        151B, as amended, the Massachusetts Civil Rights Act, as amended, M.G.L. c. 214 § lC, 42 U.S.C. §
        1983, and any claims for fees, costs and disbursements of any kind, whether known or unknown,
        which Woolley now has, ever had, or hereafter may discover, against University or any employee,
        agent, or independent contractor of University based on any actual or alleged act, omission,
        transaction, practice, conduct, event or other matter, that pre-dates the execution of the Agreement,
        including all alleged claims set forth in and/or concerning the Litigation. Woolley expressly
        understands and agrees that to the extent that any one or more provision(s) of any law or of any
        principle(s) of common law of any state or country is or are in any way applicable to limit the scope
        and/or operation of the release set forth in this Agreement including, but not limited to, limitations
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would permanently preclude his physical or virtual presence on any property owned by UMass. (Id. at

¶ 3(b).)

           Plaintiff initiated the second case in 2022 by filing a six-count complaint against UMass and

four employees in their individual and official capacities. (22-cv-30145, Compl., Dkt. No. 1.) The 2022

complaint referenced the same events from 2017 through 2018 that formed the basis of his 2019 suit

against UMass, and noted the 2019 settlement agreement, though Plaintiff did not attach it as an

exhibit. Plaintiff alleged that he had obtained documents earlier in 2022, which showed that UMass

engaged in “fraud and illegal behavior . . . regarding the settlement,” and those documents were the

reason he filed his second complaint. (22-cv-30145, Compl., Dkt. No. 1.) Plaintiff voluntarily

dismissed the 2022 complaint in March 2023, while the defendants’ motion to dismiss was pending.

(22-cv-30145, Compl., Dkt. No. 28.)

           More than a year later, Plaintiff filed his complaint in this action and included the same six

counts listed in the 2022 complaint, all of which were based on the events that occurred in 2017 and

2018. Three of the counts are brought pursuant to 42 U.S.C. § 1983, and assert claims for (1) Fourth

Amendment violations by UMass and its employee Peter Archbald, who allegedly accessed Plaintiff’s

UMass student email account without a search warrant; (2) violations of the Fair Housing

Amendments Act of 1988 (“FHAA”) and the ADA by Archbald, and a second UMass employe,

Jeffrey Silvia, when Plaintiff was barred from his UMass housing in the summer of 2018; and (3)

violations of the FHAA and ADA by UMass employees Denise Barton and Gerald Leone based on

their responses to a discrimination complaint made by Plaintiff and investigated by the Massachusetts

Commission Against Discrimination. Plaintiff also asserted three claims pursuant to state law: (1)



      on the effect of such release on unknown or unsuspected claims, such provision(s) and principle(s)
      are hereby knowingly and voluntarily waived by Woolley. In signing this Agreement, Woolley waives
      and releases all damages, including future damages, arising from the released events;
(Jul. 24, 2019 Settlement Agreement, Dkt. No. 25-1, ¶ 3(c).)
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abuse of process based on actions taken when Plaintiff’s UMass housing was terminated in the

summer of 2018, (2) invasion of privacy based on UMass employees surreptitiously accessing

Plaintiff’s UMass student email address in the lead up to the summer 2018 eviction; and (3) intentional

or reckless infliction of emotional distress based on actions UMass and its employees took to

encourage Plaintiff to quickly vacate his UMass housing in 2018.2



                                           V.       DISCUSSION

        The central issue before the court is whether Plaintiff’s claims are foreclosed by the settlement

agreement the parties signed in July 2019. Plaintiff referred to the settlement agreement in his

complaint and has not contested the authenticity of the document Defendants attached as an exhibit

to their motion to dismiss. Defendants contend the settlement agreement is an enforceable contract,

and its terms clearly and unambiguously bar Plaintiff from pursuing claims against Defendants based

on conduct that occurred before the parties executed the settlement agreement. Plaintiff counters that

the settlement agreement should be invalidated because Defendants engaged in fraud.

        In Massachusetts, “‘[a] settlement agreement is a contract and its enforceability is determined

by applying general contract law.’” Dacey v. Burgess, 202 N.E.3d 1172, 1180 (Mass. 2023) (quoting

Sparrow v. Demonico, 960 N.E.2d 296, 301 (Mass. 2012)). Courts recognize two types of fraud that can

void a contract: fraud in the factum and fraud in the inducement. Fraud in the factum voids a contract

in the rare case when a party has been misled about the essential nature of the document signed by

that party, as, for example, if a party thought they were signing a receipt, but actually signed a note.


2 Plaintiff also described two interactions with employees of the UMass Police Department (“UMPD”) during

2022. In October 2022, Plaintiff was contacted by a UMPD employee and learned UMPD employees had
previously accessed his UMass email without a warrant. He also alleged that he was subjected to a pretextual
stop while driving through the UMass Amherst campus in November 2022, though the court is not confident
about the timing of that incident because Plaintiff first listed the stop as occurring in 2022, then described
related events as occurring in 2018. Plaintiff did not refer to either 2022 event when describing the conduct
that formed the basis for any of his six claims.
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Smith v. Jenkins, 732 F.3d 51, 75 (1st Cir. 2013). Plaintiff has not alleged any facts that would support

a finding that the settlement agreement is void due to fraud in the factum. Although Plaintiff now

claims he would not have signed the settlement agreement had he known the full scope of Defendants’

prior actions, he has not alleged that he did not know he was signing a settlement agreement or had

been misled about the contents of the agreement. The settlement agreement was executed after the

parties participated in court-sponsored mediation, and Plaintiff was represented by counsel.

        A claim for fraud in the inducement occurs when a plaintiff knowingly signs a contract, but

does so based on a false representation made by the defendant. “A contract induced by fraudulent

misrepresentations is voidable, not void.” Shaw’s Supermarkets, Inc. v. Delgiacco, 575 N.E.2d 1115, 1117

(Mass. 1991). To establish a claim for fraud in the inducement, a plaintiff must show: “(1) that [the

defendant] made knowingly false statements; (2) that those statements were made with the intent to

deceive; (3) that those statements were material to [the plaintiff’s] decision to sign the [agreement]; (4)

[the plaintiff] reasonably relied on those statements; and (5) that [the plaintiff] was injured as a result

of [that] reliance. Zyla v. Wadsworth, 360 F.3d 243, 254 (1st Cir.2004).

        Although Plaintiff claimed Defendants engaged in “underhanded and secretive activity,” the

only conduct alleged in his complaint occurred prior to the 2019 litigation, or several years later.

(Compl., Dkt. No. 1 at 19.) Plaintiff agreed to participate in court-sponsored mediation prior to

discovery. He was represented by counsel during the mediation, and he has not identified any false or

misleading statements Defendants made during the 2019 litigation, let alone statements made for the

purpose of inducing him to sign the settlement agreement. When parties reach a settlement prior to

discovery, they typically do not know the full scope of the other party’s conduct. One of the incentives

for early settlement is that it allows a party to avoid sharing compromising information that would be

discoverable. In the absence of allegations about specific, misleading statements made by UMass




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during the 2019 litigation, the court concludes Plaintiff has not established a basis for voiding the

settlement agreement based on fraud in the inducement.

        An agreement may also be subject to recission if a party can prove by clear and convincing

evidence that there was a mutual mistake regarding an essential element of the agreement. Browning-

Ferris Indus., Inc. v. Casella Waste Mgmt. of Mass., Inc., 945 N.E.2d 964, 975 (Mass. 2011). Here, Plaintiff

has alleged only that he was mistaken about the scope of Defendants’ past conduct when he agreed

to the terms of the settlement agreement. The existence of a mutual mistake is also inconsistent with

Plaintiff’s assertions of fraud.

        Having concluded Plaintiff’s factual allegations do not support recission or fraud sufficient to

void the settlement agreement, the court looks to the terms of the 2019 settlement agreement to

determine whether Plaintiff’s claims are foreclosed by the agreement. The language in the settlement

agreement is plain and unambiguous and, therefore, the court construes the contract terms as a matter

of law. Mason v. Telefunken Semiconductors Am., LLC, 797 F.3d 33, 38 (1st Cir. 2015) (“In contract

disputes, the court may construe clear and unambiguous contract terms as a matter of law.”). In

exchange for forgiveness of a specific debt from UMass, receipt of a payment, and a release of claims,

Plaintiff agreed to release all claims he had against UMass, and its employees, at that time, regardless

of whether the claims were known to Plaintiff. This broad language supports Defendants’ assertion

that they are entitled to dismissal as to all claims Plaintiff has asserted based on conduct by UMass,

and its employees, prior to July 2019, including Plaintiff’s three § 1983 claims. Those were Plaintiff’s

only claims brought pursuant to federal law, and they supplied the sole basis for the court’s federal

question jurisdiction3. Given the early stage of this litigation, the court declines to exercise




3 Since the settlement agreement clearly bars Plaintiff’s federal claims, the court bypasses the sovereign

immunity issue. See Mulero-Carrillo, 790 F.3d at 105.
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supplemental jurisdiction over Plaintiff’s remaining state law claims, which will be dismissed without

prejudice.



                                          III. CONCLUSION

          For the foregoing reasons, the court DENIES Plaintiff’s First Motion for Recusal (Dkt. No.

28) and ALLOWS Defendants’ Motion to Dismiss (Dkt. No. 24). Plaintiff’s federal claims are

dismissed with prejudice; his state law claims are dismissed without prejudice. This case may now be

closed.

          It is So Ordered.



                                                               /s/ Mark G. Mastroianni     _
                                                              MARK G. MASTROIANNI
                                                              United States District Judge




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